)RUP*
                       Case 23-00057                 Doc 1         Filed 03/15/23 Entered 03/15/23 11:11:21                              Desc Main
                                                                     Document     Page 1 of 13
               B1040 (FORM 1040) (12/15)

                     ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                          (Court Use Only)
                             (Instructions on Reverse)

       PLAINTIFFS                                                                          DEFENDANTS
       Bell and Arthur Condominium Association, Inc.                                       Alan Alhomsi


       ATTORNEYS (Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)
       Justin R. Storer, Law Office of William J. Factor, Ltd., 105 W.
       Madison St., Suite 1500, Chicago, IL 60602

       PARTY (Check One Box Only)                         PARTY (Check One Box Only)
       Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
       Ƒ &UHGLWRU  Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
       Ƒ 7UXVWHH                                          Ƒ Trustee
       CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

       Quiet title under IL state law, violation of automatic stay (11 U.S.C. 362), violation of plan confirmation order (11 U.S.C. 1141),
       avoidance of lien as unauthorized transfer of estate property (11 U.S.C. 549).


                                                                              NATURE OF SUIT
                    (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

                FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)
       Ƒ 11-Recovery of money/property - §542 turnover of property                         Ƒ  61-Dischargeability - §523(a)(5), domestic support
       Ƒ 12-Recovery of money/property - §547 preference                                   Ƒ  68-Dischargeability - §523(a)(6), willful and malicious injury
       Ƒ 13-Recovery of money/property - §548 fraudulent transfer                          Ƒ  63-Dischargeability - §523(a)(8), student loan
       Ƒ 14-Recovery of money/property - other
           ■
                                                                                           Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                 (other than domestic support)
                FRBP 7001(2) – Validity, Priority or Extent of Lien
       Ƒ 21-Validity, priority or extent of lien or other interest in property             Ƒ  65-Dischargeability - other

                                                                                           FRBP 7001(7) – Injunctive Relief

       Ƒ
                FRBP 7001(3) – Approval of Sale of Property                                Ƒ 71-Injunctive relief – imposition of stay
                31-Approval of sale of property of estate and of a co-owner - §363(h)      Ƒ 72-Injunctive relief – other
                FRBP 7001(4) – Objection/Revocation of Discharge
       Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                          FRBP 7001(8) Subordination of Claim or Interest
                                                                                           Ƒ 81-Subordination of claim or interest
                FRBP 7001(5) – Revocation of Confirmation
       Ƒ 51-Revocation of confirmation                                                     FRBP 7001(9) Declaratory Judgment
                                                                                           Ƒ 91-Declaratory judgment
                FRBP 7001(6) – Dischargeability
       Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                                     Ƒ
       Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

             actual fraud                                                            Other
       Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                          (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                            ■

                                                                                                   if unrelated to bankruptcy case)
       Ƒ Check if this case involves a substantive issue of state law
           ■
                                                                                           Ƒ Check if this is asserted to be a class action under FRCP 23
       Ƒ &KHFNLIDMXU\trial is demanded in complaint                                    Demand $ tbd
       Other Relief Sought
       Avoidance of lien
          Case 23-00057            Doc 1      Filed 03/15/23 Entered 03/15/23 11:11:21                        Desc Main
                                                Document     Page 2 of 13
  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Bell and Arthur Condominium Association, Inc.                         22-00410
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Illinois                                          Eastern                           Hon. Carol A. Doyle
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Justin R. Storer



DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
3/15/23                                                                Justin R. Storer



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
  Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21     Desc Main
                               Document     Page 3 of 13



                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

     In re:                                 Chapter 11

     Bell and Arthur Condominium            Bankruptcy No. 22-00410
     Association, Inc.,
                                            Honorable Carol A. Doyle
                          Debtor.

     Bell and Arthur Condominium
     Association, Inc.,

                          Plaintiff,

     v.                                     Adversary No. 23-___________

     Alan Alhomsi,

                          Defendant.


                               VERIFIED COMPLAINT

     1.     Subsequent to confirmation of the Debtor’s plan and an eviction

judgment’s being entered against him and his spouse, Alan Alhomsi (the

“Defendant”) filed a false, fraudulent, fictitious, and bogus lien against the Debtor

on the Cook County Clerk’s ledger of recorded documents. A copy of this “lien” is

attached as Exhibit A.




     {00213614}
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                                Document     Page 4 of 13



       2.    This filing is one aspect of his ongoing paper terrorism campaign against

the Debtor – the condominium association charged with maintaining the property

in which the Defendant, as of this writing, still resides.1

       3.    In an indirect fashion, it was the Defendant’s litigation against the

Debtor that necessitated its bankruptcy. By way of meretricious pleadings, the

Defendant caused the brief appointment of a receiver, and hundreds of thousands of

dollars of insurance defense claims against the Debtor.

       4.    With the Debtor having – at long last – obtained an eviction judgment

against the Defendant, the Defendant continues his campaign of harassment.

       5.    The Debtor now brings this complaint to obtain an order, in recordable

form, avoiding the “Notice of Lien” recorded at document number 2302634042 at the

Cook County Clerk’s Ledger of Recorded Documents by quiet title, as a violation of

the automatic stay, and as a violation of the Debtor’s plan confirmation order

(though, to be clear, the Debtor did not owe the Defendant any debt, at any time).

The Debtor also seeks damages, including sanctions and attorneys’ fees.




1 “Paper terrorism” is “a neologism to refer to the use of false liens, frivolous

lawsuits… and other legal documents lacking sound factual basis as a method of
harassment.” https://en.wikipedia.org/wiki/Paper_terrorism, accessed 3/13/23. Most-
famously employed by the sovereign citizen movement, paper terrorism “includes
filing frivolous lawsuits and convoluted court filings, including rambling and
nonsensical court filings, ostensibly to intimidate, harass, and wear down” the
counterparty. Robert Chamberlain and Donald P. Haider-Markel, “Lien on Me:”
State Policy Innovation in Response to Paper Terrorism, Vol. 58, Issue 3, Political
Research Quarterly, pg. 449, pub’d 9/1/2005.


{00213614}                                —2—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                                Document     Page 5 of 13



                              JURISDICTION AND VENUE

       6.    This adversary proceeding arises in the chapter 11 bankruptcy case of

Bell and Arthur Condominium Association, Inc., pending before this Court as case

number 22-00410.

       7.    Pursuant to 28 U.S.C. § 1334(b), this Court has subject matter

jurisdiction over this proceeding, which is referred here pursuant to 28 U.S.C.

§ 157(b) and Local Rule 40.3.1(a) of the United States District Court for the

Northern District of Illinois.

       8.    This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (b)(2)(B),

(b)(2)(K), and (b)(2)(O).

       9.    This Court has constitutional authority to enter final judgments and

orders herein.

       10.   If a court determines that any portion of this proceeding is not a core

proceeding or that a bankruptcy judge does not have constitutional authority to

enter final judgments in this proceeding, the Debtor consents, pursuant to 28 U.S.C.

§ 157(c), to a bankruptcy judge hearing and finally determining the proceeding and

entering appropriate orders and judgments.

       11.   This Court is the proper venue for this adversary proceeding pursuant to

28 U.S.C. §§ 1408 and 1409.




{00213614}                                 —3—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21     Desc Main
                                Document     Page 6 of 13



                                GENERAL ALLEGATIONS

1. Alan Alhomsi’s frivolous litigation.

       12.   The Defendant, and his wife, Nawaar Alhomsi, moved into their unit, as

shareholders of the Debtor, in 2014.2

       13.   In time, the Defendant brought case 2017-L-3486 at the Circuit Court of

Cook County against the Association and its board, and various other parties,

advancing various allegations of fraud and theft, breach of management, defamation

of character, and other claims. A copy of that complaint is attached as Exhibit B.

       14.   Attendant to the litigation, the Defendant was briefly able to serve as the

sole member of the Debtor’s board.3 Arising from the Defendant’s contestation of the

election of new board members under the Circuit Court’s oversight, Phoenix Rising

Management was appointed custodian, leading to a claim against the Debtor in

excess of $68,000.00.

       15.   As detailed elsewhere in the bankruptcy case, various insurers defended

the Debtor in connection with this litigation under a reservation of rights.

Unsurprisingly, these insurers ultimately sought to assert that their policies did not

cover the dispute at issue, leading to several suits against the Debtor and – in

aggregate – the greater body of the Debtor’s debts, leading it into bankruptcy.



2 On information and belief, the Defendant also goes by the name Alaa Awary.

3 As later held in an unpublished opinion by the Illinois Court of Appeals, “The

circuit court erred by relying on Alhomsi’s affidavit when it entered the January 10,
2019 TRO.” Alhomsi v. Bell and Arthur Condominium Association, 2019 WL
2343908 at *6 (Ill. App. 1st. 2019).


{00213614}                                —4—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                                Document     Page 7 of 13



2. The Debtor’s bankruptcy case.

       16.   As a result of the foregoing, the Debtor filed its chapter 11 (subchapter V)

bankruptcy petition on January 13, 2022.

       17.   With no creditor voting against the plan, its plan was confirmed,

pursuant to 11 U.S.C. § 1191(b), on July 1, 2022.

       18.   The plan provided, broadly, that the Debtor would pay administrative

fees and allowed secured claims (a loan secured by future assessments and a water

bill), and a dividend between six and seven percent to allowed unsecured claims.

       19.   The Defendant does not have any claim against the Debtor, which owes

the Defendant no debt.

       20.   On May 9, 2022, the COVID-19 moratorium lifting, the Debtor was able

to bring eviction case 2022-m1-706891 at the Circuit Court of Cook County, against

the Defendant and Nawaar Alhomsi; an eviction judgment was entered against

them. See attached Exhibit C.

       21.   The Defendant retaliated by, among other things, filing the “Notice of

Lien” now at issue, and reporting to the Chicago Police Department that the

Debtor’s registered agent was stealing the Defendant’s mail.

       22.   Along the way, the Defendant’s action against the Debtor was, at long

last, dismissed with prejudice. See attached Exhibit D.

                                 COUNT 1 – QUIET TITLE

       23.   The Debtor incorporates the previous allegations of this complaint as

though fully set forth in this count.


{00213614}                                —5—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                                Document     Page 8 of 13



       24.   The Debtor pleads this count in the alternative to the extent the relief or

the allegations contradict anything else contained in this complaint.

       25.   The Defendant’s false lien unjustly interferes with the Debtor’s interest

in the property; at least one sale of a unit has already fallen through as a result of

the Defendant’s false lien.

       26.   The Defendant has no interest in the association, and the association

owes him no debt, and so his false lien stands as a cloud on title with reference to

the association and its property.

       27.   Furthermore, pursuant to 11 U.S.C. § 105(a), this Court may enter any

order necessary or appropriate to carry out the provisions of the Bankruptcy Code.

        Wherefore, the Debtor requests that this Court enter judgment in its favor

and against Alan Alhomsi, in a form that can be recorded at the Cook County

Clerk’s ledger of recorded documents, avoiding the “Notice of Lien” recorded at

document number 2302634042, and entering other relief that this Court deems just

and proper. The Debtor also seeks damages, at an amount to be determined at trial.

                    COUNT 2 – VIOLATION OF AUTOMATIC STAY

       28.   The Debtor incorporates the previous allegations of this complaint as

though fully set forth in this count.

       29.   The Debtor pleads this count in the alternative to the extent the relief or

the allegations contradict anything else contained in this complaint.

       30.   Pursuant to 11 U.S.C. § 1192, the Debtor will obtain a discharge at the

conclusion of payments under its chapter 11 plan.


{00213614}                                —6—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                                Document     Page 9 of 13



       31.   Consequently, the automatic stay still binds creditors of the Debtor from

collection as against the Debtor, even if property of the estate has already revested

in the Debtor.

       32.   Pursuant to 11 U.S.C. § 362(a)(1), the filing of a bankruptcy petition

operates as a stay against the commencement or continuation of a judicial,

administrative, or other action or proceeding against the Debtor that was or could

have been commenced before the commencement of the case, or to recover a claim

against the Debtor that arose before the commencement of the case.

       33.   Pursuant to 11 U.S.C. § 362(a)(2), the filing of a bankruptcy petition

operates as a stay against the enforcement, against the debtor, of a judgment

obtained before the commencement of the case.

       34.   Pursuant to 11 U.S.C. § 362(a)(6), the filing of a bankruptcy petition

operates as a stay against any act to collect, assess, or recover a claim against the

debtor that arose before the commencement of the case.

       35.   Consequently, the Defendant’s recording his false lien is an attempt to

collect a claim (albeit, false and nonexistent) as a liability of the Debtor, and is

stayed by 11 U.S.C. § 362(c)(2) even postconfirmation.

       36.   Furthermore, pursuant to 11 U.S.C. § 105(a), this Court may enter any

order necessary or appropriate to carry out the provisions of the Bankruptcy Code.

        Wherefore, the Debtor requests that this Court enter judgment in its favor

and against Alan Alhomsi, in a form that can be recorded at the Cook County

Clerk’s ledger of recorded documents, avoiding the “Notice of Lien” recorded at


{00213614}                                —7—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                               Document     Page 10 of 13



document number 2302634042, and entering other relief that this Court deems just

and proper. The Debtor also seeks damages, at an amount to be determined at trial.

              COUNT 3 – VIOLATION OF PLAN CONFIRMATION ORDER

       37.   The Debtor incorporates the previous allegations of this complaint as

though fully set forth in this count.

       38.   The Debtor pleads this count in the alternative to the extent the relief or

the allegations contradict anything else contained in this complaint.

       39.   Pursuant to 11 U.S.C. § 1141(c), except subject to exceptions not here

relevant, after confirmation of the plan, the property dealt with by the plan is free

and clear of all claims and interests of creditors.

       40.   The Defendant’s recording his false lien is an attempt to assert an

interest in property which is, in fact, free and clear of all claims and interests of

creditors.

       41.   Furthermore, pursuant to 11 U.S.C. § 105(a), this Court may enter any

order necessary or appropriate to carry out the provisions of the Bankruptcy Code.

        Wherefore, the Debtor requests that this Court enter judgment in its favor

and against Alan Alhomsi, in a form that can be recorded at the Cook County

Clerk’s ledger of recorded documents, avoiding the “Notice of Lien” recorded at

document number 2302634042, and entering other relief that this Court deems just

and proper. The Debtor also seeks damages, at an amount to be determined at trial.




{00213614}                                —8—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                               Document     Page 11 of 13



                      COUNT 4 – AVOIDANCE OF POSTPETITION
                        TRANSACTION (ESTATE PROPERTY)

       42.   The Debtor incorporates the previous allegations of this complaint as

though fully set forth in this count.

       43.   The Debtor pleads this count in the alternative to the extent the relief or

the allegations contradict anything else contained in this complaint.

       44.   To whatever extent the bankruptcy estate continues to exist in some

form, postconfirmation, the submission of the fraudulent lien constitutes a transfer

of estate property without Bankruptcy Court authority, that was not authorized

under the Bankruptcy Code or by the Court. As such, it is subject to avoidance

under 11 U.S.C. § 549(a).

       45.   Furthermore, pursuant to 11 U.S.C. § 105(a), this Court may enter any

order necessary or appropriate to carry out the provisions of the Bankruptcy Code.

        Wherefore, the Debtor requests that this Court enter judgment in its favor

and against Alan Alhomsi, in a form that can be recorded at the Cook County

Clerk’s ledger of recorded documents, avoiding the “Notice of Lien” recorded at

document number 2302634042, and entering other relief that this Court deems just

and proper. The Debtor also seeks damages, at an amount to be determined at trial.

                        COUNT 5 – VIOLATION OF AUTOMATIC
                             STAY (ESTATE PROPERTY)

       46.   The Debtor incorporates the previous allegations of this complaint as

though fully set forth in this count.




{00213614}                                —9—
   Case 23-00057      Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21      Desc Main
                               Document     Page 12 of 13



       47.   The Debtor pleads this count in the alternative to the extent the relief or

the allegations contradict anything else contained in this complaint.

       48.   Pursuant to 11 U.S.C. § 362(a)(2), the filing of a bankruptcy petition

operates as a stay against the enforcement, against property of the estate, of a

judgment obtained before the commencement of the case.

       49.   Pursuant to 11 U.S.C. § 362(a)(3), the filing of a bankruptcy petition

operates as a stay against any act to obtain possession of property of the estate or

property from the estate, or to exercise control over property of the estate.

       50.   Pursuant to 11 U.S.C. § 362(a)(4), the filing of a bankruptcy petition

operates as a stay against any act to create, perfect, or enforce any lien against

property of the estate.

       51.   To whatever extent the bankruptcy estate continues to exist, in some

form, postconfirmation, the submission of the fraudulent lien constitutes a violation

of the automatic stay, and is void, pursuant to the foregoing.

       52.   Furthermore, pursuant to 11 U.S.C. § 105(a), this Court may enter any

order necessary or appropriate to carry out the provisions of the Bankruptcy Code.

        Wherefore, the Debtor requests that this Court enter judgment in its favor

and against Alan Alhomsi, in a form that can be recorded at the Cook County

Clerk’s ledger of recorded documents, avoiding the “Notice of Lien” recorded at

document number 2302634042, and entering other relief that this Court deems just

and proper. The Debtor also seeks damages, at an amount to be determined at trial.




{00213614}                                —10—
    Case 23-00057    Doc 1   Filed 03/15/23 Entered 03/15/23 11:11:21     Desc Main
                              Document     Page 13 of 13




Dated: March 14, 2023                          Respectfully submitted,
                                               Bell and Arthur Condominium
                                               Association, Inc.
                                               By: Isl Justin R. Storer
                                               One of Its Attorneys


Justin Storer (6293889)
FACTORLAW
105 W. Madison Street, Suite 1500
Chicago, IL 60602
Tel:    (312) 373-7226
Fax:    (847) 574-8233
E-mail: jstorer@wfactorlaw.com




                                   VERIFICATION
      I verify under penalty of perjury that the foregoing is true and correct.
Executed on March 14, 2023.




                                               Association, Inc., by Michael Mento




{00213614}
